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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                JONESBORO DIVISION

STEPHEN E. HOLLIS AND
CHRISTY HOLLIS                                                                      PLAINTIFFS

v.                                Case No. 3:15-cv-0005-KGB

BERTRAM D. KAPLAN, et al.                                                        DEFENDANTS

                                            ORDER

       The parties in this case have filed a joint stipulation of dismissal with prejudice (Dkt. No.

45). In accordance with the parties’ joint stipulation, this case is dismissed with prejudice. All

pending motions are denied as moot.

       So ordered this the 7th day of October, 2016.



                                                           _______________________________
                                                           Kristine G. Baker
                                                           United States District Judge
